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                                                                       6
                                                                                                      UNITED STATES DISTRICT COURT
                                                                       7
                                                                                                    SOUTHERN DISTRICT OF CALIFORNIA
                                                                       8

                                                                       9   IN RE RETURN OF FUNDS SEIZED IN                  Case No. '23CV0646 AGS MSB
                                                                           SEIZURE NO 3780230004, SEIZURE NO                Hon.
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                                                                      10
                                                                           3780230005, SEIZURE NO 3780230006,
                                                                                                                            DECLARATION OF BRIAN W.
                                                                      11   SEIZURE NO 3780230007, AND
                                                                                                                            HURLEY IN SUPPORT OF MOTION
                                                                           SEIZURE NO 3780230010
                                                                                                                            FOR RETURN OF PROPERTY
                                                                      12
RELAW, APC




                                                                                                                            PURSUANT TO FRCP 41(G)
                                                                      13
                                                                                                                            Date:
                                                                      14                                                    Time:
                                                                      15

                                                                      16

                                                                      17                            DECLARATION OF BRIAN W. HURLEY
                                                                      18 I, Brian W. Hurley, declare as follows:

                                                                      19 1.       The matters stated herein are of my own personal knowledge, and if called as a witness, I
                                                                      20 could competently testify as to the matters stated herein, except for those matters stated on

                                                                      21 information and believe, and as to those matters, I believe them to be true.

                                                                      22 2.       I am the President and CEO of Finest City Escrow, Inc. Finest City is a California
                                                                      23 corporation licensed as an “Escrow Agent” pursuant to Cal. Financial Code § 17000 et seq. The

                                                                      24 scope of Finest City’s business includes the facilitation of real property escrow transactions by

                                                                      25 which we hold funds and documents in custody pending the fulfillment, by the applicable buyers

                                                                      26 and sellers, of all conditions required to finalize a property purchase and sale.

                                                                      27 3.       On August 12, 2022, Finest City opened an escrow (our reference FCE-1995-BK) to
                                                                      28 facilitate the sale, by Ms. Victoria Singleton (the “Seller”) to FA Service 5, Inc. (the “Buyer”) of

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                                                                                                         DECLARATION OF BRIAN W. HURLEY
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                                                                       1 the real property commonly referred to as 7430 Lisbon Street, San Diego, California 92114 (the

                                                                       2 “Property”).

                                                                       3 4.      In the ordinary course of this escrow transaction, Finest City sent documents and forms to

                                                                       4 the Seller and Buyer to review, sign and return. Among the forms sent to the Seller was an

                                                                       5 “Instructions for Proceeds” by which the Seller provided Finest City with a signed and notarized

                                                                       6 direction as to the bank account to which the net proceeds of sale are to be delivered, via wire

                                                                       7 transfer, at the time the escrow closed.

                                                                       8 5.      On September 12, 2022, Finest City was contacted via telephone by a person now known

                                                                       9 to have been fraudulently impersonating the Seller (the “Impersonator”). The Impersonator
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                                                                      10 advised a Finest City employee that she wished to change the bank account she had designated

                                                                      11 for receipt of her proceeds. The employee advised the Impersonator that Finest City could only

                                                                      12 accept proceeds instructions in writing and then, only if notarized. The Impersonator gave the
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                                                                      13 employee an email address to which the employee emailed a blank version of our Instructions for

                                                                      14 Proceeds form.

                                                                      15 6.      The Impersonator emailed a completed, signed, and notarized Instructions for Proceeds

                                                                      16 form identifying a Wells Fargo Bank account to which funds were to be transmitted at closing. A

                                                                      17 true and correct photocopy of the email from the Impersonator is attached hereto as Exhibit “A”.

                                                                      18 A true and correct photocopy of the fraudulently completed, signed and notarized wire instruction

                                                                      19 from the Impersonator is attached hereto as Exhibit “B”.

                                                                      20 7.      At closing on October 12, 2022, based on the information provided on the fraudulent form,

                                                                      21 Finest City transmitted $414,263.36 to the identified Wells Fargo Bank account. A true and

                                                                      22 correct photocopy of the wire transmittal to the Wells Fargo account is attached hereto as Exhibit

                                                                      23 “C”.

                                                                      24 8.      On Friday, October 14, 2022, the Seller called Finest City to inquire about the status of

                                                                      25 her proceeds wire. The employee advised her by phone that the escrow had closed two days earlier

                                                                      26 and that the proceeds had been transmitted by wire to the Wells Fargo account provided on the

                                                                      27 updated form. The Seller clarified that she had never sent an updated form, that she only banked

                                                                      28 with Union Bank, and that she had not received her funds.

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                                                                       1 9.       Finest City immediately (i) contacted its bank (AXOS Bank in San Diego, the issuing

                                                                       2 bank of the transmitted wire) and asked that it immediately recall the wire to Wells Fargo; (ii)

                                                                       3 filed an IC3 with the FBI’s Internet Crime Compliance Center; (iii) contacted the FBI’s San Diego

                                                                       4 field office and engaged Special Agent Alexander E. Murray to tag the IC3 and to make contact

                                                                       5 with Wells Fargo Bank (Exhibit “D”); and (iv) contacted the FBI’s Cyber Crime Unit, based in

                                                                       6 Los Angeles, to engage a Special Agent to freeze the misdirected funds. A true and correct

                                                                       7 photocopy of the IC3 is attached hereto as Exhibit “D”.

                                                                       8 10.      Throughout the FBI’s pursuit of the stolen monies, Finest City has maintained consistent

                                                                       9 and continuing contact with Special Agent Murray and has provided copies of file documents and
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                                                                      10 other materials to assist with the FBI investigation.

                                                                      11 11.      The California Department of Financial Protection and Innovation (DFPI), the state

                                                                      12 agency responsible for overseeing and regulating licensed Escrow Agents, required Finest City
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                                                                      13 to provide funds to the actual Seller in the full amount of the calculated sale proceeds. The

                                                                      14 shareholders of Finest City were required to add capital to Finest City in the amount of

                                                                      15 $414,263.36 to permit Finest City to reimburse the actual Seller in full. A true and correct

                                                                      16 photocopy of Finest City’s check to the Seller is attached hereto as Exhibit “E”.

                                                                      17 12.      Of the total of $414,263.36 stolen, Finest City has recovered only $6,567.19. As noted

                                                                      18 above, upon discovering the fraud, Finest City contacted its bank, AXOS Bank, to recall the wire.

                                                                      19 Unfortunately, Wells Fargo Bank reported that only $6,567.19 remained of the $414,263.36

                                                                      20 transmitted. Finest City has suffered a loss of $407,696.17. A true and correct photocopy of the

                                                                      21 Wells Fargo wire for $6,567.19 is attached hereto as Exhibit “F”.

                                                                      22 13.      It is my understanding, information, and belief, based upon my communications with

                                                                      23 Special Agent Alex Murray and my review of the Affidavit of Special Agent Alexander Murray

                                                                      24 in Support of Seizure Warrant in case number 22MJ3960 (a true and correct photocopy of the

                                                                      25 Order to Unseal (Limited) Seizure Warrant is attached hereto as Exhibit “G”) that Special Agent

                                                                      26 Alex Murray traced the misdirected funds belonging to Finest City from the Wells Fargo account

                                                                      27 to the accounts identified as Asset ID 23-FBI-000004, 23-FBI-000005, 23-FBI-000006, 23-FBI-

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                                                                                                        DECLARATION OF BRIAN W. HURLEY
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